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UNITED STATES DISTRICT soural a ee]
SOUTHERN DISTRICT OF NEW YORK

03 MDL 1570 (GBD)
In re Terrorist Attacks on September 11,2001 | ECF Case

This document relates to:

Federal Insurance Co., et al. v. Al Qaida, et al., No. 03-CV-6978 (GBD)

STIPULATION OF VOLUNTARY DISMISSAL

Pursuant to Fed. R. Civ. P. 41(a)(1}(A)(ii), Plaintiffs Zurich American Insurance
Company, American Guarantee and Liability Insurance Company, American Zurich Insurance
Company, Assurance Company of America, Colonial American Casualty and Surety Insurance
Company, Fidelity and Deposit Company of Maryland, Maryland Casualty Company, Northem
Insurance Company of New York, Steadfast Insurance Company and Valiant Insurance
Company hereby stipulate to dismiss from the action captioned Federal Insurance Co, v. Al
Qaida, No, 03-cv-6978 (GBD) all claims against defendants Wael Julaidan, Muslim World
League and International Islamic Relief Organization, all of which stipulate to this voluntary

dismissal, with prejudice.

The listed plaintiffs’ voluntary dismissal of their claims against Wael Julaidan, Muslim
World League and International Islamic Relief Organization does not affect the status of the
action of all other plaintiffs against Wael Julaidan, Muslim World League and Intemational

Islamic Relief Organization.
Case 1:03-md-01570-GBD-SN Document 2103 Filed 07/09/08 Page 2 of 2

No counterclaims have been asserted against any of the listed plaintiffs in the action,

Each side to bear its own attomey’s fees, costs, and expenses.

Dated: April 7, 2008

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HON. GEORGE B. oe

Respectfully submitted,

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